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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

JOAQUIN SUAREZ-FLORES, Reg.
No. 47620-112,
           Movant,                     CRIMINAL ACTION
                                       NO. 1:07-CR-279-14
     v.                                CIVIL ACTION
                                       NO. 1:14-CV-1948-CAP
UNITED STATES OF AMERICA,

           Respondent.



                               O R D E R
     After carefully considering the report and recommendation of

the magistrate judge and finding no error, the court receives the

report and recommendation with approval and adopts it as the

opinion and order of this court.

     SO ORDERED, this 13th day of August, 2014.



                                 /s/ Charles A. Pannell, Jr.
                                 CHARLES A. PANNELL, JR.
                                 United States District Judge
